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IN THE UNITED STATES DISTRICT COURT
FOR THE EAS'I`ERN DISTRICT OF VIRGINIA

Richmond Division
KARA A. WHITE,
Plaintiff,
v. Civil Action No. 3:18-cv~360-JAG
VIRGINIA BOARD FOR PEOPLE WITH
DISABILTIES, et al.,
Defendants.

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Kara White claims that the Virginia Board for People with Disabilities (“the Board”),
Heidi Lawyer, and Penni Sweetenburg-Lee failed to promote her and then fired her because of
her disability in violation of the Rehabilitation Act and the Americans with Disabilities Act
(“ADA”). She also says that the defendants retaliated against her because she advocated for
people with disabilities The defendants have moved to dismiss White’s amended complaint for
lack of subject matter jurisdiction and for failure to state a claim.

Because the Court has subject matter jurisdiction over White’s ADA claims and she has
stated plausible claims for relief under the ADA, the Court will deny the defendants’ motion to
dismiss as to White’s ADA claims. The Court will also deny the motion as to White’s retaliation
claim under the Rehabilitation Act, but will grant the motion as to her claims for failure to

promote and wrongful termination under the Rehabilitation Act.

I. FACTS ALLEGED IN THE AMENDED COMPLAINT

 

White, who has cerebral palsy, worked part-time for the Board from 2007 until February,
2018. She handled three training programs for people with disabilities, including the Partners in
Policy (“PIP”) program. White’s annual evaluations showed that she met or exceeded the

Board’s expectations

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ln July, 2017, White emailed the Board’s staff, asking them to use size 18-point font for
all documents Lawyer, the Board’s Executive Director, responded that most people do not need
lS-point font and that big font makes documents too long. Lawyer also told White that she
should address her concerns with the communications director. White explained that the Board
should have large prints on tile because participants of the PIP program request larger font sizes
every year. Lawyer responded that White should not instruct staff and that she should address
further concerns with her supervisor, Sweetenberg-Lee. Sweetenburg-Lee also responded,
thanking staff for their “responses and reprimands” and stating that she was “aghast” by White’s
email. (Am. Compl.1153.)

In August, 2017, White applied for a full-time training and alumni coordinator position
with the Board, Sweetenberg-Lee and two others interviewed White for the position. On
September 3, Sweetenberg-Lee told White that she did not get the position, but that the Board
could “facilitate [White] moving on to somewhere else.” (!d. 11 61.) lnstead, the defendants
promoted Ronita Wilson, who does not have a disability. Wilson had two years of experience
working at the Board, while White had over ten years of experience

On August 25, White learned that the Board planned to distribute a liability waiver to PIP
participants which she believed would discourage people with disabilities from attending PIP
sessions White told Sweetenberg-Lee that she believed the waiver discriminated against people
with disabilities On September 6, White expressed her concerns to Teri Morgan, a former
employee of the Board, who contacted Lawyer, The next day, Lawyer sent an email to White
and Sweetenberg-Lee, reprimanding White for ignoring the chain of command White

complained to Lawyer and Sweetenberg-Lee that they had insulted and disrespected her.

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On September 12, Sweetenberg-Lee told White to stop attending meetings with the
Board’s directors Several weeks later, Sweetenberg-Lee asked White to start sending daily
updates and weekly reports to Sweetenberg-Lee, to respond to all emails in writing, and not to
make any recommendations or send any emails without Sweetenberg-Lee’s approval.

In White’s November, 2017 performance evaluation, Sweetenberg-Lee praised White for
her “knowledge of disability issues and her extraordinary responsiveness,” but said that she
expected White to respond to all emails in writing. (Id. jr 80.) On December 7, White asked
Sweetenberg-Lee not to demean her in front of others Sweetenberg-Lee responded, “l am sorry
you felt demeaned, but I am sure it will not happen again, since you will be following this
directive.” (Id. lf 82.) On February 22, 2018, Lawyer fired White, citing her “unsatisfactory job
performance.” (Id. 1| 84.)

White’s amended complaint alleges that the defendants failed to promote her and fired
her because of her disability in violation of the Rehabilitation Act (Count One) and the ADA
(Count Two). White also claims that the defendants retaliated against her for her advocacy for
people with disabilities in violation of the Rehabilitation Act and the ADA. The defendants have
moved to dismiss White’s Rehabilitation Act and ADA claims for failure to state a claim under

Rule 12(b)(6) and her ADA claim for lack of subject matter jurisdiction under Rule 12(b)(l).

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II. DlSCUSSIONl
A. ADA Claims
l. Eleventh Amendment Immum'ly

Sovereign immunity is a jurisdictional issue. See Research Triangle lnst. v. Bd. of
Governors of !he Fed. Reserve Sys., 132 F.3d 985, 987, 990 (4th Cir. 1997). State sovereign
immunity protects the state from actions at law for damages and from suits in equity to restrain
or compel governmental action. Alliance to Save the Mattaponi v. Commonwealth Dep’t of
Envtl. Quality, 270 Va. 423, 454, 621 S.E.2d 78, 96 (2005). This immunity extends to state
agents and state instrumentalities, like the Board. Rector and Visitors of the Um‘v. of Va. v.
Carler, 267 Va. 242, 244-45, 591 S.E.2d 76, 78 (2004).

A claim against a state or its agent may survive the Eleventh Amendment bar to suit in
one of three recognized ways First, Congress may abrogate Eleventh Amendment immunity.
Bd. of Trs. of the Um`v. of AIa. v. Garretl, 531 U.S. 356, 363 (2001). Second, a state may waive
its immunity. Lapides v. Bd. of Regents of the Um`v. Sys. of Ga., 535 U.S. 613, 618 (2002).

Third, a plaintiff may seek prospective relief against state officials acting in violation of federal

 

' A Rule 12(b)(6) motion gauges the sufficiency of a complaint without resolving any factual
discrepancies or testing the merits of the claims Republican Party of N. C. v. Martin, 980 F.2d
943, 952 (4th Cir. 1992). In considering the motion, a court must accept all allegations in the
complaint as true and must draw all reasonable inferences in favor of the plaintiff. Nemel
Chevrolet, Ltd. v. Consumerajfairs.com, lnc., 591 F.3d 250, 253 (4th Cir. 2009) (citing Edwards
v. City of Goldsboro, 178 F.3d 231, 244 (4th Cir. 1999)). The principle that a court must accept
all allegations as true, however, does not apply to legal conclusions Ashcro_/l v. Iqbal, 556 U.S.
662, 678 (2009). To survive a Rule 12(b)(6) motion to dismiss, a complaint must state facts that,
when accepted as true, state a claim to relief that is plausible on its face. Id. “A claim has facial
plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable
inference that the defendant is liable for the misconduct alleged.” !d. (citing Bell Atl. Corp. v.
Twombly, 550 U.S. 544, 556 (2007)). A motion under Rule 12(b)(1) tests the court’s subject
matter jurisdiction. The plaintiff bears the burden of proving proper subject matter jurisdiction
as the party asserting jurisdiction. Adams v. Bain, 697 F.2d 1213, 1219 (4th Cir. 1982).

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law under the principles set forth in Ex parte Young. Frew ex rel. Frew v. Hawkins, 540 U.S.
431, 437 (2004). White argues that the Ex parte Young exception applies to her ADA claims

Ex parte Yozmg established “an important limit on sovereign immunity” that permits
“fedcral courts to vindicate federal rights.” Va. Oj'ice for Prot. & Advocacy v. Stewart, 563 U.S.
247, 254-55 (2011). To take advantage of this narrow exception, a plaintiff must properly
characterize the relief sought as prospective and injunctive in nature. See Frew, 540 U.S. at 437.
Determining whether a suit may proceed under Ex parte Young requires only that courts
“conduct a straightforward inquiry into whether [the] complaint alleges an ongoing violation of
federal law and seeks relief properly characterized as prospective.” Stewart, 563 U.S. at 268
(alteration in original).

In this case, White only seeks compensatory damages under her Rehabilitation Act
claims2 For her ADA claims, she seeks reinstatement or front pay, a declaratory judgment,
injunctive relief, and attomey’s fees and costs. Because White properly seeks prospective relief
for her ADA claims, the Court has subject matter jurisdiction over those claims See Bland v.
Roberts, 730 F.3d 368, 390 (4th Cir. 2013) (“Because reinstatement is a form of prospective
relief, the refusal to provide that relief when it is requested can constitute an ongoing violation of
federal law such that the Ex Parte Young exception applies.”).3 Accordingly, the Court will deny

the defendants’ motion to dismiss for lack of subject matter jurisdiction.

 

2 Sovereign immunity does not bar White’s claim for compensatory damages under the
Rehabilitation Act. See Constantine v. Rectors & Visitors of George Mason Um'v., 41 l F.3d 474,
492-96 (4th Cir. 2005); Litman v. George Mason Um'v., 186 F.3d 544, 555 (4th Cir. 1999).

3 See also Pickering v. Va. State Police, 59 F. Supp. 3d 742, 747 (E.D. Va. 2014) (explaining that
requests for reinstatement, front pay, a declaratory judgment, injunctive relief, and attorney’s
fees and costs qualify as prospective forms of reliet).

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2. Failure to Promote and Wrongful Termination

White alleges that the defendants violated the ADA by discriminating against her in two
ways: failure to promote and wrongful termination. To state an ADA discrimination claim, a
plaintiff must plead facts showing that (l) she was a “qualifled individual with a disability”; (2)
she suffered an adverse employment action; (3) she “was fulfilling [her] employer’s legitimate
expectations”; and (4) “the circumstances of [the adverse action] raise a reasonable inference of
unlawful discrimination.” Reynolds v. Am. Nat’l Red Cross, 701 F.3d 143, 150 (4th Cir. 2012).
The defendants argue that White does not allege facts showing that their decisions not to
promote her and to fire her raise an inference of unlawful discrimination.

White’s amended complaint, however, “contains adequate factual allegations to state a
[failure to promote] claim under the ADA.” Baira' ex rel. Baird v. Rose, 192 F.3d 462, 470 (4th
Cir. 1999) (holding that “the causation standards applicable in Title VII actions are applicable to
violations of [the ADA]”). White alleges that the defendants promoted a less qualified employee
without a disability and that she received positive performance reviews during her time at the
Board. These allegations allow the Court to draw the reasonable inference that the defendants
failed to promote White because of her disability. Cf Coles v. Carilion Clim'c, 894 F. Supp. 2d
783, 795-96 (W.D. Va. 2012) (holding that the plaintiff pleaded sufficient facts to support a
claim for failure to promote under Title VII by alleging that the defendant “hired or promoted
many white males [for the position] but failed to promote plaintift”).

To support her wrongful termination claim, White alleges that she received positive
performance reviews during her time at the Board and cites multiple incidents when the
defendants unfairly scrutinized, criticized, and micromanaged her. Despite her qualifications and

positive job reviews, the defendants fired her. Taken together, White’s allegations “warrant a

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reasonable inference of unlawful discrimination, allowing her claim of discriminatory
termination to survive at this stage of the proceedings.” Corbett v. Richmond Metro. Transp.
Auth., 203 F. Supp. 3d 699, 706 (E.D. Va. 2016) (holding that the plaintiff stated a claim for
discrimination under the ADA by alleging that the defendants “subjected Plaintiff’s performance

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to more strict scrutiny, confronted her about the quality of her Work,” and “chastised [her]
more harshly than others”). Accordingly, the Court will deny the motion to dismiss as to
White’s claims for failure to promote and wrongful termination under the ADA.
3. Retaliazion

To state a claim for retaliation under the ADA, a plaintiff must allege sufficient facts
showing that (l) she engaged in protected conduct; (2) she suffered an adverse employment
action; and (3) “a causal link exists between the protected conduct and the adverse action.” A
Soc’y Withoul a Name v. Virginia, 655 F.3d 342, 350 (4th Cir. 2011). The defendants dispute
the first and third prongs

“Protected conduct falls into two distinct categories: participation or opposition.”
Laughlin v. Metro. Wash. Airports Auth., 149 F.3d 253, 259 (4th Cir. 1998). Oppositional
activity includes “utilizing informal grievance procedures . . . and voicing one’s opinion to bring
attention to an employer’s discriminatory activities.” ld. White says that she advocated for
larger font sizes for PIP participants and opposed the Board’s liability waiver. Because White
alleged that she “oppos[ed] discriminatory practices in the workplace,” she adequately pleads
that she engaged in protected oppositional conduct. Id.

“An employee need not prove causation itself at the prima facie case stage: rather, a close
temporal relationship between the protected activity and the adverse action is sufficient to show a

casual nexus.” Brockman v. Snow, 217 F. App’x 201, 207 (4th Cir. 2007). “While evidence as

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to the closeness in time ‘far from conclusively establishes the requisite causal connection, it
certainly satisfies the less onerous burden of making a prima facie case of causality.”’ Yashenko
v. Harrah ’s NC Casino Co., 446 F.3d 541, 551 (4th Cir. 2006) (quoting Williams v. Cerberonics,
Inc., 871 F.2d 452, 457 (4th Cir. 1989)).

White says that she advocated for larger font sizes in July, 2017, and first opposed the
waiver in August, 2017. The defendants told her that they would not promote her on September
3, 2017. White again opposed the waiver on September 6, 2017. The defendants fired White in
February, 2018, By showing “a close temporal relationship” between engaging in protected
conduct and the adverse employment actions, White has alleged the required causal link to
survive a motion to dismiss Brockman, 217 F. App’x at 207. White, therefore, pleads sufficient
facts to support her retaliation claim under the ADA.

B. Rehabilitation Act Claims
1. Failure to Promote and Wrongful Termination

White alleges that the defendants violated the Rehabilitation Act by discriminating
against her in two ways: failure to promote and wrongful termination. To state a claim for
disability discrimination under the Rehabilitation Act,4 a plaintiff must allege facts showing that
she “(1) has a disability; (2) is otherwise qualified for the employment; and (3) was excluded
from that employment due to discrimination solely on the basis of her disability.” Reyazuddin v.
Monlgomery County, 789 F.3d 407, 418 (4th Cir. 2015). “The third element contains two

subparts: (1) adverse employment action and (2) discrimination based solely on disability.” Id.

 

4 Section 504(a) of the Rehabilitation Act of 1973 states, “No otherwise qualified individual with
a disability in the United States . . . shall, solely by reason of her or his disability, be excluded
from the participation in, be denied the benefits of, or be subjected to discrimination under any
program or activity receiving Federal financial assistance.” 29 U.S.C. § 794(a).

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The defendants do not dispute that White alleges that she has a disability, that she was qualified
for the job, or that she suffered an adverse employment action.

Unlike the ADA, the Rehabilitation Act requires plaintiffs to plead sufficient facts that
would allow the Court to infer “discrimination ‘solely by reason of" disability.” Magness v.
Har!ford County, No. ELH-16-2970, 2018 WL 1505792, at * 14 (D. Md. Mar. 27, 2018) (quoting
29 U.S.C. § 794(a)). To support her failure to promote claim, White alleges that the defendants
promoted a less qualified employee without a disability. Her claim for wrongful termination
rests on her allegations that she earned positive performance reviews that the defendant unfairly
criticized and disrespected her, and that the defendants fired her despite her qualifications

White’s allegations fall short of the Rehabilitation Act’s stringent causation standard.5
See Baird, 192 F.3d at 468-69 (explaining the different standards “regarding the causative link
between discrimination and adverse action” set forth in the ADA and the Rehabilitation Act).
The bulk of White’s allegations suggest other motivations for the defendants’ actions For
example, White alleges that the defendants took the alleged discriminatory actions after she
advocated for larger font sizes, opposed the liability waiver, and ignored the chain of command.
See McCleary-Evans v. Md. Dep 't ofTransp., 780 F.3d 582, 588 (4th Cir. 2015) (holding that the
plaintiff failed to state a claim “in light of the ‘obvious alternative explanation”’ for the alleged
discriminatory action). Because White fails to “nudge[] [her] claims across the line from
conceivable to plausible,” Twombly, 550 U.S. at 570, the Court will grant the motion as to her

claims for failure to promote and wrongful termination under the Rehabilitation Act.

 

5 As explained in Part II.A.2, however, White’s allegations do give rise to a plausible claim for
disability discrimination under the ADA’s more lenient causation standard. See Baird, 192 F.3d
at 470 (holding that the plaintiff stated a claim for discrimination under the ADA “even though
her complaint may be read to contain allegations that her absenteeism . . . also played a role” in
the alleged discriminatory action).

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2. Retalia!iori6

As explained above, White has alleged sufficient facts to support her retaliation claim
under the ADA. Because the Rehabilitation Act and the ADA have identical ami-retaliation
provisions the Court will also deny the motion to dismiss as to her retaliation claim under the
Rehabilitation Act. See Brady v. Bd. of Educ., 222 F. Supp. 3d 459, 474 (D. Md. 2016).

III. CONCLUSION

For the reasons set forth above, the Court will deny the motion to dismiss as to White’s
ADA claims and her retaliation claim under the Rehabilitation Act. The Court, however, will
grant the motion to dismiss as to White’s claims for failure to promote and wrongful termination
under the Rehabilitation Act.

The Court will enter an appropriate Order.

Let the Clerk send a copy of this Opinion to all counsel of record.

 

 

 

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6 The Rehabilitation Act incorporates the ADA’s ami-retaliation provision. See Hooven-Lewis v.
Cala'era, 249 F.3d 259, 272 (4th Cir.2001); see also 42 U.S.C. § 12203(a) (prohibiting retaliation
“against any individual because such individual has opposed any act or practice made unlawful
by [the ADA or the Rehabilitation Act] or because such individual made a charge, testified,
assisted, or participated in any manner in an investigation, proceeding, or hearing under [the
ADA or Rehabilitation Act]”).

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